 Case 22-41362       Doc 45     Filed 12/15/22       Entered 12/15/22 18:07:22         Pg 1 of 2



                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION
IN RE:                                           )    CASE NO: 22-41362-659
KOBI K GILKEY                                    )    Chapter 13
                                                 )
                                                 )    Response Due: 01/05/2023
                                                 )
                      Debtor                     )

  TRUSTEE'S MOTION TO DISMISS FOR FAILURE TO MAKE PLAN PAYMENTS
                           AND NOTICE

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING
PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT
AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING
PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE
DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE
MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO
YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN
AGREEMENT, YOU MUST ATTEND THE HEARING, THE DATE OF WHICH WILL
BE SENT TO YOU IF YOU FILE A RESPONSE. UNLESS THE PARTIES AGREE
OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND
MAY DECIDE THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEYS.
   COMES NOW Diana S. Daugherty, Standing Chapter 13 Trustee in Bankruptcy, and for her
Motion to Dismiss states as follows:
1. That the above-captioned case was filed on May 05, 2022. The debtor's plan proposes to
   pay the sum of $730.00 per month.
2. Pursuant to 11 U.S.C. § 1326(a)(1) the debtor's first payment was due on June 04, 2022.

3. That the Trustee has received payments from the debtor over the last nine months as set
   forth in Exhibit A, attached hereto.
4. That the amount due to the Trustee to date is $3,800.00 but the total paid into the plan to
   date is $1,615.00.
5. That the debtor is $2,185.00 in default through December 15, 2022.
    WHEREFORE the Trustee prays the Court enter its order dismissing this Chapter 13 case
for failure to make plan payments.
  Case 22-41362      Doc 45     Filed 12/15/22     Entered 12/15/22 18:07:22            Pg 2 of 2




22-41362-659           TRUSTEE'S MOTION TO DISMISS FOR FAILURE TO                         12/15/2022
                            MAKE PLAN PAYMENTS AND NOTICE                                 Page 2 of 2
Dated: December 15, 2022                             /s/ Diana S. Daugherty
                                                     Diana S. Daugherty
MTDPYM--SS                                           Standing Chapter 13 Trustee
                                                     P.O. Box 430908
                                                     St. Louis, MO 63143
                                                     (314) 781-8100 Fax: (314) 781-8881
                                                     trust33@ch13stl.com

                                   CERTIFICATE OF SERVICE
    I certify that a true and correct copy of the foregoing document was filed electronically on
December 15, 2022, with the United States Bankruptcy Court, and has been served on the parties
in interest via e-mail by the Court's CM/ECF System as listed on the Court's Electronic Mail
Notice List.

     I certify that a true and correct copy of the foregoing document was filed electronically with
the United States Bankruptcy Court, and has been served by Regular United States Mail Service,
first class, postage fully pre-paid, addressed to those parties listed on the Court's Manual Notice
List and listed below on December 15, 2022.

KOBI K GILKEY
9132 DARNELL PLACE
SAINT LOUIS, MO 63136

                                                     /s/ Diana S. Daugherty
                                                     Diana S. Daugherty, Chapter 13 Trustee

                                           EXHIBIT A

                          RECEIPTS FROM 03/16/2022 TO 12/15/2022
 Receipt Date        Receipt Amount  Receipt Type
 06/14/2022                 $150.00       MONEY ORDER FROM DEBTOR
 07/26/2022                 $300.00       MONEY ORDER FROM DEBTOR
 07/26/2022                 $300.00       MONEY ORDER FROM DEBTOR
 07/26/2022                 $130.00       MONEY ORDER FROM DEBTOR
 09/07/2022                 $500.00       MONEY ORDER FROM DEBTOR
 09/07/2022                 $235.00       MONEY ORDER FROM DEBTOR
